       Case 4:20-cv-05640-YGR        Document 1195     Filed 02/12/25   Page 1 of 7




 1    DANIEL G. SWANSON, SBN 116556                  MARK A. PERRY, SBN 212532
      dswanson@gibsondunn.com                        mark.perry@weil.com
 2    GIBSON, DUNN & CRUTCHER LLP                    JOSHUA M. WESNESKI (D.C. Bar No.
      333 South Grand Avenue                         1500231; pro hac vice)
 3    Los Angeles, CA 90071                          joshua.wesneski@weil.com
      Telephone: 213.229.7000                        WEIL, GOTSHAL & MANGES LLP
 4    Facsimile: 213.229.7520                        2001 M Street NW, Suite 600
                                                     Washington, DC 20036
 5    CYNTHIA E. RICHMAN (D.C. Bar No.               Telephone: 202.682.7000
      492089; pro hac vice)                          Facsimile: 202.857.0940
 6    crichman@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP                    MORGAN D. MACBRIDE, SBN 301248
 7    1050 Connecticut Avenue, N.W.                  morgan.macbride@weil.com
      Washington, DC 20036                           WEIL, GOTSHAL & MANGES LLP
 8    Telephone: 202.955.8500                        Redwood Shores Pkwy, 4th Floor
      Facsimile: 202.467.0539                        Redwood Shores, CA 94065
 9                                                   Telephone: 650.802.3044
      JULIAN W. KLEINBRODT, SBN 302085               Facsimile: 650.802.3100
10    jkleinbrodt@gibsondunn.com
      GIBSON, DUNN & CRUTCHER LLP
11    One Embarcadero Center, Suite 2600
      San Francisco, CA 94111
12    Telephone: 415.393.8200
      Facsimile: 415.393.8306
13

14

15

16    Attorneys for Defendant APPLE INC.

17                               UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
25

26

27

28


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                   CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                         Document 1195                  Filed 02/12/25              Page 2 of 7




 1                                                          TABLE OF CONTENTS
 2                                                                                                                                                   Page
 3   LEGAL STANDARD............................................................................................................................1

 4   DISCUSSION ........................................................................................................................................2

 5   CONCLUSION ......................................................................................................................................4

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                                 i                      CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                      Document 1195                Filed 02/12/25            Page 3 of 7




 1                                                    TABLE OF AUTHORITIES

 2                                                                                                                                      Page(s)
 3   Cases
 4   Al Otro Lado, Inc. v. Wolf,
 5      2020 WL 5422784 (S.D. Cal. Sept. 10, 2020) .................................................................................... 2

 6   In re Anthem, Inc. Data Breach Litig.,
         2018 WL 3067783 (N.D. Cal. Mar. 16, 2018) .................................................................................... 2
 7
     Apple Inc. v. Rivos, Inc.,
 8      2024 WL 1204115 (N.D. Cal. Mar. 21, 2024) ................................................................................ 1, 3
 9   DNA Genotek Inc. v. Spectrum Sols., L.L.C.,
       2023 WL 4335734 (S.D. Cal. May 10, 2023) ................................................................................. 2, 3
10

11   Ervine v. Warden,
        214 F. Supp. 3d 917 (E.D. Cal. 2016)................................................................................................. 2
12
     Kamakana v. City and Cnty. of Honolulu,
13     447 F.3d 1172 (9th Cir. 2006) ........................................................................................................ 1, 2
14   Krommenhock v. Post Foods, LLC,
        2020 WL 2322993 (N.D. Cal. May 11, 2020) .................................................................................... 3
15

16   Lamartina v. VMware, Inc.,
        2024 WL 3049450 (N.D. Cal. June 17, 2024) .................................................................................... 2
17
     Lee v. Great Am. Life Ins. Co.,
18      2023 WL 8126850 (C.D. Cal. Nov. 13, 2023) .................................................................................... 2

19   Phillips v. Gen. Motors Corp.,
        307 F.3d 1206 (9th Cir. 2002) ........................................................................................................ 1, 3
20
     PQ Labs, Inc. v. Qi,
21
        2014 WL 4617216 (N.D. Cal. Sept. 15, 2014) ................................................................................... 1
22
     Rembrandt Diagnostics, LP v. Innovacon, Inc.,
23      2018 WL 1001097 (S.D. Cal. Feb. 21, 2018) ..................................................................................... 2

24   Snapkeys, Ltd. v. Google LLC,
        2021 WL 1951250 (N.D. Cal. May 14, 2021) ................................................................................ 2, 3
25
     UnifySCC v. Cody,
26      2023 WL 7170265 (N.D. Cal. Oct. 30, 2023)..................................................................................... 3
27
     Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc.,
28      619 F. Supp. 3d 970 (N.D. Cal. 2021) ................................................................................................ 2


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                            ii                    CASE NO. 4:20-CV-05640-YGR-TSH
        Case 4:20-cv-05640-YGR                          Document 1195                  Filed 02/12/25               Page 4 of 7




 1   Williams v. Apple Inc.,
        2021 WL 2476916 (N.D. Cal. June 17, 2021) .................................................................................... 3
 2
     Other Authorities
 3
     Federal Rule of Civil Procedure 26(c) ...................................................................................................... 1
 4

 5   Local Rule 79-5......................................................................................................................................... 1

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL                                  iii                     CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1195         Filed 02/12/25      Page 5 of 7




 1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

 2   submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

 3   Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1179) (“Epic’s

 4   Motion”). Attached to Epic’s Motion is an Exhibit A consisting of various privilege log entries relevant

 5   to the issues before the Court. Apple respectfully requests that the Court seal portions of the privilege

 6   log entries submitted as Exhibit A. This Exhibit contains information sealable under controlling law and

 7   Local Rule 79-5, because it contains competitively sensitive, non-public information regarding Apple’s

 8   retention of outside counsel, as well as personally identifying information in the form of email addresses

 9   of Apple’s employees. Apple’s proposed redactions of Exhibit A are indicated in the redacted version

10   of Exhibit A filed with this statement and itemized in the concurrently filed Declaration of Mark A. Perry

11   (the “Perry Declaration”).

12                                            LEGAL STANDARD
13          “The court may, for good cause, issue an order to protect a party or person from annoyance,

14   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

15   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

16   for many types of information, including, but not limited to, trade secrets or other confidential research,

17   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

18   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

19   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

20   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,

21   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

22   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)

23   (granting request to seal “internal product codenames” and noting that a prior request for the same had

24   also been granted); Snapkeys, Ltd. v. Google LLC, 2021 WL 1951250, at *3 (N.D. Cal. May 14, 2021)

25   (granting motion to file under seal personally identifiable information, including email addresses and

26   telephone numbers of current and former employees).

27          Although a party must show compelling circumstances to seal information appended to

28   dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL           1                CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1195        Filed 02/12/25      Page 6 of 7




 1   Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

 2   Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

 3   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

 4   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

 5   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

 6   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

 7   seal “because the request is narrowly tailored and only includes confidential information”).

 8                                                DISCUSSION
 9          Apple seeks to seal the confidential information and personally identifying information in Exhibit

10   A. See Perry Decl. ¶¶ 5–6.

11          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns

12   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

13   has less of a need for access to court records attached only to non-dispositive motions because those

14   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

15   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

16   discovery generally are considered nondispositive of the litigation” (quotation omitted)); see also In re

17   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

18   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

19          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024

20   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

21   operates in an intensely competitive environment, and thus has taken extensive measures to protect the

22   confidentiality of its information. See Perry Decl. ¶ 3. Disclosure of the sealed information in Exhibit

23   A relating to Apple’s retention of outside counsel could expose certain aspects of Apple’s legal strategy.

24   Perry Decl. ¶ 5; see also DNA Genotek Inc., 2023 WL 4335734, at *2 (finding good cause where

25   disclosure would “undercut” a party’s “position … in the marketplace”); Apple Inc., 2024 WL 1204115,

26   at *1. Additionally, courts in this district have found not only good cause, but compelling reasons exist

27   to seal personally identifiable information. See Snapkeys, 2021 WL 1951250, at *3 (granting motion to

28   file under seal personally identifiable information, including email addresses and telephone numbers of


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL           2               CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR          Document 1195           Filed 02/12/25    Page 7 of 7




 1   current and former employees); see also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct.

 2   30, 2023) (finding compelling reasons to seal personally identifying information of employees, including

 3   names, addresses, phone numbers, and email addresses).

 4          Apple has narrowly tailored its sealing request to include only the information necessary to

 5   protect its confidential business information. See Krommenhock v. Post Foods, LLC, 2020 WL 2322993,

 6   at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited” information); see also Phillips, 307

 7   F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–3 (N.D. Cal. June 17, 2021) (noting

 8   Apple’s narrowed sealing requests with “tailored redactions”); Dkt. No. 643 at 3 (finding Apple’s

 9   proposed redactions appropriate for an exhibit when redactions were “narrowly tailored” to “sensitive

10   and confidential information”). Apple has only partially redacted limited information in Exhibit A. See

11   Perry Decl. ¶ 6.

12          For the foregoing reasons, there is good cause that warrants partially sealing Exhibit A to Epic’s

13   Motion.

14                                                  CONCLUSION
15          Apple respectfully requests that the Court seal the information identified in the accompanying

16   declaration.

17   Dated: February 12, 2025                               Respectfully submitted,

18                                                          By: Mark A. Perry
                                                            Mark A. Perry
19
                                                            WEIL, GOTSHAL & MANGES LLP
20
                                                            Attorney for Apple Inc.
21

22

23

24

25

26

27

28


     APPLE INC.’S STATEMENT ISO MOTION TO SEAL          3                 CASE NO. 4:20-CV-05640-YGR-TSH
